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                     EXHIBIT 44
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                     EXHIBIT 45
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                                                                                       Declaration                   of C                     R                    A




              I, Ca                     R                  An                                                                                      declare             under           penalty         of perjury            that the           following

is true       and        correct             to     the     best        of my           knowledge                     and        recollection




        1.    My         son        is Vi                 Ho                       S             and            he    is one- -years                old.       His       date          of birth        is                          and       his

                                                                           Iam         traveling            with my                son and              my      husband,                 Do                 P              do     N




        2.     We        crossed                 the     border            near        Juarez,         Mexico                 on    June           7, 2019.             Since          that     time,           for 11 days,            we've        been

               held        in Border                   Patrol          detention.               They        separated                   us from           my           husband.               I haven'      't spoken            him      since       we

                came           in and             they      haven't              let him         see        his son.               They       keep        telling            me        we     can't     leave        here        until       there       is

                    space,              but        I don       't know           what         space         they         mean



        3.      My       son,        V                   is not        eating          well      here           in     detention.                 The     give         us burritos              in the          morning          and      the      evening

                and       some              bread          at lunchtime.                   it's not             the     food         he       is used         to       and        he     doesn'        teat       very     much          of it. I think

                he       is hungry



        4.      For       the       first ten              days       we      were         here,           they        held        us     in a tent.            We       slept           on     the    floor       with      a mattress              and      a

                blanket.                The lights              were          on       all the       time.            I was        worried              about          scorpions               biting       us



        5.      We've               only         been          able    to take           a shower                    once        in the           whole        time          we've            been      here.       It was        about        a week

                after          we        got       here.        I felt so          dirty       and         my        baby        was      so       dirty too.            He        has        a cold     and       a runny         nose



        6.      Today           they             moved            us to a new                  cell inside              the        building.            There           are       a lot of families                 in there           and    it's very

                cold.          We           haven        't spent          the         night     in that              cell yet          but       there         doesn'         't seem           to    be       enough          space        for

                everyone                    to lie down                at the           time.        Idon' 't know                     what        we        will do          to sleep           tonight.



         7.     We        have              been        in here         for so          long         and        we      haven'          't been           allowed              to talk to             anyone        in my         family.          I know

                they           are so            worried           about           us    and     it makes                   me      so anxious




 1, C                R                       A                        swear        under         penalty               of perjury                 that       the       above           declaration               is true        and      complete             to

 the     best        of my           abilities.             This declaration                     was            provided             in Portuguese,                          a language               in which           I am     fluent,          and      was

 read        back        to me              in Portuguese




 C              R                   A                                                                                                              June       18,       2019




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                                                                   Certificate       of Translation




I, Clara    Long,    certify    that   I am    fluent    in   English   and   Portuguese           and     that   I read   the   above   declaration   to Ca

R            An            in   Spanish.      Executed        this 18   of June      in El Paso,     TX.




Clara    Long

Human       Rights Watch
350     Sansome      St. Ste. 1000

San     Francisco,    CA   94104




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